Case: 1:16-cv-08727 Document #: 477 Filed: 11/19/24 Page 1 of 1 PageID #:3241

                  UNITED STATES DISTRICT COURT
     FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                               Eastern Division

National Collegiate Athletic Association
Student−Athlete Concussion Injury Litigation, et al.
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:16−cv−08727
                                                                      Honorable Manish S.
                                                                      Shah
Wake Forest University, et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 19, 2024:


         MINUTE entry before the Honorable Manish S. Shah: The parties' next status
report on mediation progress is due by 12/16/24, and the court requests the parties provide
at least a tentative timetable to complete their negotiations. It may be that only with
deadlines will the parties reach a definitive resolution under the umbrella of this MDL,
and this court will not keep an MDL open that has outlived its purpose. Notices Mailed.
(psm, )




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